                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH DAKOTA
                                    CENTRAL DIVISION


DARLENE BIG CROW,                                                 CIV. 08-3011
as personal representative for the
ESTATE OF SETH BIG CROW,

               Plaintiff,

       vs.                                        NOTICE OF DISMISSAL BANKRUPTCY

GEORGE MATHEW, M.D.,

               Defendant.


       Please take notice that the bankruptcy of Defendant George Mathew filed in United

States Bankruptcy Court for the Western District of Washington at Seattle, number 08-15182-

KOA has been dismissed. A copy of the Order of Dismissal is attached hereto as Exhibit A.

       Dated at Sioux Falls, South Dakota, this 30th day of July, 2009.

                                                DAVENPORT, EVANS, HURWITZ &
                                                SMITH, L.L.P.



                                                /s/ Mark W. Haigh
                                                Mark W. Haigh
                                                206 West 14th Street
                                                PO Box 1030
                                                Sioux Falls, SD 57101-1030
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                                                E-mail: mhaigh@dehs.com
                                                Attorneys for Defendant
                                  CERTIFICATE OF SERVICE

       Mark W. Haigh, one of the attorneys for Defendant, hereby certifies on this 30th day of

July, 2009, I caused the following document(s):

       ♦       Notice of Dismissal Bankruptcy

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an e-mail

notice of the electronic filing to the following:

               William J. Janklow
               Andrew R. Damgaard
               JANKLOW LAW FIRM, PROF. L.L.C.
               1700 W. Russell Street
               Sioux Falls, SD 57104

               Attorneys for Plaintiff


Dated: July 30, 2009                                /s/ Mark W. Haigh
                                                    Mark W. Haigh




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